         Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 1 of 27



 CORNELIUS P. McCARTHY (CM-3544)
 CHEHEBAR DEVENEY & PHILLIPS
 485 Madison Avenue Suite 1301
 New York. New York 10022
 Tel.: 212-532-8204
 Cell: 914-629-0687
 Fax: 212-7 53-81 0l
 E-mail : cmccarthy@cdlawllp.com

 PIERCE O', DONNELL (P O -57 24)
 GREENBERG GLUSKER FIELDS CLAMAN
   & MACHTINGER
 2049 Century Park East, ?6tl'Floor
 Los Angeles. Californi a 90067
 Tel.: 310-201-7558
 Cell: 310-480-3366
 Fax: 310-201 -1792
 E-mail: podonnell@greenbergglusker.com
 Attorneys lbr Plaintiff
 MICHAEL TERPIN


                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



  ICHAEL TERPIN.
                                            Civil Action No.
                   Plaintiff.
                                            COMPLAINT FOR: (1) VIOLATIONS
       -against-                            OF THE RACKETEER INFLUENCED
                                            AND CORRUPT ORGANIZATIONS
 LLIS PINSKY. as an individual; and DOES    ACr( (RrCO) (18 u.s.c. $ le62(c));
1-20. Inclusive,                            (2) CONVERSION; (3) MONEY HAD
                                            AND RECEIVED; (4) REPLEVIN;
                   Defendants.              (s) vroLATIoN oF THE COMPUTER
                                            FRAUD AND ABUSE ACT (18 U.S.C.
                                            $ 1e30(AXa)); AND (6) PRELIMINARY
                                            AND PERMANENT INJUNCTION

                                            DEMAND FOR JURY TRIAL
                 Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 2 of 27



                        Plaintiff MICHAEL TERPIN. ("Plaintiff'). for his claims for relief against

defendants ELLIS PINSKY ("Pinsky") and DOES                    I through 20. inclusive ("Doe Defendants")
(collectively. "Defendants"). based on personal knowledge as to his own acts and information

and belief as to the acts of all others. alleges as fbllows:

                                                   INTRODUCTION

           1.              This case involves a sophisticated cybercrime spree masterminded by a then

15-year-old high school student in coordination with and with the active participation of other

individuals, including several other minors. In this case. the cybercrime enterprise hacked

accounts and then stole and laundered tens of millions of Plaintiff-s cryptocurrency. Working

with confederates on multiple continents, the ringleader of this scheme. Defendant Ellis Pinsky

("Pinsky") has stolen over $100 million in cryptocumency. One prorninent victim is Plaintiff

Michael Terpin, a high-profile cryptocurency pioneer, who lost nearly $24 million worth of

cryptocurrency as a result of a hack perpetrated by Pinsky and his gang of digital bandits.

           2.              Pinsky, who recently turned 18, attends and is apparently now set to graduate

from a suburban New York high school. ln his early teens, he began hacking computers with the

mission of accessing his victims' private accounts where they store their cryptocurrency holdings

or private information. Once his cohorls or he breach the security wall with a stolen mobile

phone SIM card belor-rging to his "mark-."'they use that victim's telephone or cornputer to locate

information to take charge of the victim's cryptocurrency accounts and to transfer the proceeds

of those accounts to their control.

           3.              One of Pinsky's partners was Nicholas   "Nick" Truglia,   a then 2O-year-old   New

York hustler who, until recently. was imprisoned in Santa Clara County. California. on grand

larceny charges for a separate cryptocurrency theft. is currently on bail awaiting criminal trials in




8376.+-00001/3   I8 r   068.7
            Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 3 of 27



the state courl in California and in the federal court in New York. His f'ederal trial is based on

his indictment for stealing Plaintiff s cryptocurrency. Truglia's assignments included identifying

victims, obtaining their cell phone and passcode numbers. conning the mobile phone carrier into

giving him or another imposter a new SIM card. and then handing off the scam to Pinsky to

execute the hack. Truglia is part of the conspiracy but not a Defendant in this action               Plaintiff
                                                                                                 -
has already sued          Trugliain   a separate action and obtained a judgment against him   fiom the Los

Angeles County Superior Court in the State of Califbrnia.

          4.          It is believed that Pinsky met other accomplices in   a chat   room called the

"Original Gangsters" or "OGUsers Forum."

          5.          Pinsky, Truglia, and others in the criminal conspiracy. who are sued herein as Doe

Defendants, operated the enterprise by locating potential targets (preferably those with large

cryptocurrency holdings). obtaining information about their victims, such as telephone numbers

and carriers, either impersonating the victims or coopting or bribing employees of the carriers to

cooperate with the theft. forging identity papers for the victims, and then taking over the victim's

mobile telephone. Once in control of the telephone, Pinsky, Truglia. and/or their co-conspirators

would then roam openly through files of the victim that they were able to access and intercept

two factor authentication messages until they located infbrmation about cryptocurrency holdings

that would allow them to exfiltrate such holdings from their rnark's accounts. The nucleus               of
Pinsky's global criminal organization is more than a dozen members of the OGUsers' fbrum

frequented by hackers committing SIM swapping attacks.

         6.           Truglia has identified Pinsky and others as his confederates in cryptocurrency

thefts. In several recorded conversations after the 2018 theft. Truglia admitted how Plaintitf             s


cryptocurrency was purloined. described Pinsky's integral role in the theft, named other




83761-00004/3181068   7
                 Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 4 of 27



participants in the theft, and described how the proceeds of the theft were divided among the

gang. Along with other highly incriminating evidence, Truglia's detailed account of Pinsky's

penetration of Plaintiff s accounts and how he unlocked the unique secret to the passcodes for his

crypto-wallets conclusively demonstrates that Pinsky was one of the hackers.

           7   .                The financial crimes of Pinsky. Truglia, and their conf'ederates in hacking others

are no less insidious than bank robberies. credit card and bank fiaud. and money laundering by

drug traffickers and terrorists. They are all egregious crimes against society that evince an utter

callous disregard for the property and feelings of others. And they are deserving of the same

severe punishment and public opprobrium.

           8.                   On the surface, Pinsky is an   "All American Boy." The son of privilege,   he is

active in extracurricular activities and lives a suburban lif-e with a doting mother who is a

prominent doctor.

           9.                   Despite their wholesome appearances, Pinsky and his other cohorts are in fact evil

computer geniuses with sociopathic traits who heartlessly ruin their innocent victims' lives and

gleefully boast of their multi-million-dollar heists. As one of many examples. one victim of

Truglia lost all the money set aside for his children"s college education. The apparent ringleader

of the group, Pinsky is constantly reaching out for the support of equally callous offenders who

think nothing of stealing millions from their victims to live a lifb of conspicuous consumption.

For example, Pinsky is reputed to have used his ill-gotten gains to purchase multi-million-dollar

watches and is known to go on nightclub sprees at high end clubs in New York City, and Truglia

rented private jets and played the part of a dashing playboy with young women pampering him.

           10.                  Pinsky also has continually boasted to friends that he is invincible and would

never get caught. In early 2019. Pinsky texted:




83764-0000:+/i     I   8I   06tt 7
                 Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 5 of 27



                         "Youthink I'm fuckingdumb.... I'mnotfucking stupid.... I threwout

                         all my shit [computers]. . . . Fuck that attorney [Terpin's lawyer]. They

                         don't have shit on me. . . . You think I'm dumb enough to keep all my

                         money in America. . .   .   [Truglia] is   a dumb ass . . . and got caught.,,

             1   1.      Since the theft, Plaintiff has mounted an all-out. global elforl to track down

Pinsky, Truglia. and others to find evidence about their involvement in the thefi of his

cryptocurrency and to recover his assets. In a Califbrnia lawsuit, Mr. Terpin obtained a writ of

attachment for Truglia's assets, and later obtained             a   judgment against Truglia for almost $75.8

million. As Plaintiff          increased the pressure, Pinsky began to panic. Following Terpin's lawyer

calling his mother and contacting her lawyer. Pinsky made a series of devastating admissions in

texts with an acquaintance who is an African-American. Among other things, he acknowledged

that:   "l'm well off I'm good I don't need extra money I'm set for life . . . You're a dumb nigger

I could buy you and all your family . . . I have 100 million dollars',

            12.         Since that date. Pinsky admitted his parricipation in the theft by making a

payment to Plaintiff of cryptocurrency, cash, and a watch. On the one hand. the value of slightly

over $2 million at the time of return represents a lraction of the amount fbr which Pinsky is

responsible, yet on the other hand it confirms Pinksy's involvement since there is obviously no

other explanation for his possession of such lunds or his delivery to Plaintiff of any amount.

            13.         Pinsky has redefined the conventional meaning of "spoiled brat." Overindulged

by his parents, Pinsky is amogant, remorseless, and accustomed to getting what he                    wants-
private jet flights, luxury cars. and expensive accessories. Whether this evil mastermind's

parents were recklessly negligent or worse in failing to monitor and control their wayward son

remains to be seen.




8376.+-00004/3 l 8 I 068.7
                 Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 6 of 27



            14.            The tables are now turned on Pinsky. Truglia, and their conf-ederates. Plaintiff

will   expose this secret dark side of their teenage counterculture of SIM swaps and

cryptocurrency thefts that operate             -   with fellow hackers in the OGUsers' forum   -   beneath a

seemingly wholesome facade. In view of Pinsky's boast that he has salted away $100 million in

ill-gotten gains, nothing less than full restitution of Plaintiff's losses. plus interest, attorneys'

fees. costs, and expenses             will satisfy Plaintiff that Defendants have adequately compensated him

for his loss. And, an award of treble damages or punitive damages r.,nill send the appropriate

message to Defendants and others that the epidemic of these types                of SIM card attacks have real

consequences and must immediately cease.

                                                   NATURE OF ACTION

           15.             This is an action for violation of the Racketeering Influenced and Corrupt

Organizations Act ("RICO"). 18 U.S.C. $$ 1961-1968); conversion and conspiracy to commit

conversion; money had and received; replevin; aiding and abetting unlawful conduct; violation

of the Computer Fraud and Abuse Act. l8 U.S.C. $ 1030(a)(a); and a preliminary and permanent

injunction.

                                          JURISDICTION AND VENUE

           16.             This Cour-t has subject matter jurisdiction of this civil action pursuant to 28 U.S.C.

$S1332 (a), and 1367(a) and the doctrine of pendent               jurisdiction. This Court also has subject

matter jurisdiction of this           civil action pursuant to 28 U.S.C. Section 1332(a)(1)   because this

dispute involves citizens of different states andthe amount in controversy exceeds $75.000.

exclusive of interest and costs.

           17.             This Court also has personal jurisdiction over Defendant Pinsky. As alleged

more fully below, each of the Defendants, acting in person or through their respective




8376.+-00001/3   r   8I 068 7
               Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 7 of 27



employees, agents andlor alter egos, has engaged in substantial. continuous. and systematic

activities within the State of New York. Pinsky resides within the State of New York and this

Judicial District. The claims sued upon arise out of Defendants'fbrum-related. unlawful

activities directed towards Plaintiff.

            18.           Venue is proper in this Court under 28 U.S.C. SSl391(aX2).(bX2) and (c),

because a substantial part of the events or omissions giving rise to               Plaintiff s claims against

Defendants occurred in this Judicial District and a substantial part of the property that is the

subject of the action is situated within this Judicial District.

                                                               PARTIES

            19.           Plaintiff Michael Terpin is   a   citizen of the United States who has a residence in

Los Angeles County. California. Mr. Terpin obtained wireless services fiom AT&T Mobility,

Inc. ("AT&T") in Los Angeles County in the mid-1990s. Mr. Terpin continued at all times

relevant to the allegations herein to receive wireless services from AT&T fbr a telephone number

with a Southern California area code.

           20.            Mr. Terpin is well known fbr his involvement with cryptocurrency.

Cryptocurrency is digital or virtual currency designed as a medium of exchange in which

encryption techniques generate units of currency that verity the transf-er of funds through an

encrypted and decentralized ledger called "blockchain." The blockchain records transactions and

manages the issuance of new units of currency. Cryptocurrency is decentralized, operates

independently of a central bank or other regulatory authority, and is often traded by parties

through "exchanges." Once a transf'er of cryptocurrency has occurred, it is impossible to trace or

reverse the transaction without possession of cerlain private and complex key numbers held only

by the transf'eror.




8376,{-00001/3 I 8I 068   7
               Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 8 of 27



            21.         Ellis Pinsky is an 1 8-year-old citizen of the United States residing with his mother

in Westchester County in the city of lrvington, New York. At the time in 201 8 that he stole

nearly $24 million of cryptocurrency holdings from Plaintiff, he was 1 5 years old. Pinsky is

highly adept in matters regarding computers, the digital world. cryptocurrency holdings, the

blockchain, and laundering cryptocuffency holdings and money.

            22.         Non-party Nicholas Truglia is a former resident of New York, New York. who

until recently was incarcerated in the Santa Clara County jail in Califbrnia on charges of grand

theft. identity theft. unauthorized computer access. and other felony charges. Truglia is currently

out on bail for charges in the California state court system and a federal indictment in the

Southern District of New York involving the theft of Plaintifl-s $24 million cryptocurrency.

            23.        Plaintiff is ignorant of the true names and capacities of def-endants sued herein   as

DOES l-20. inclusive, and therefore sues these defendants by such flctitious names. PlaintifT

will   amend this Complaint to allege their true names and capacities when ascertained.

            24.        Plaintiff is informed and believes and, on that basis. alleges that Def'endants. and

each of them, were and are the agents, employees. representatives. principals. partners, co-

conspirators, joint venturers and/or alter egos of each of the other Defendants, and/or otherwise

were acting in concert with each of the other Def-endants, and in such capacity or capacities

participated in tl-re acts or conduct alleged herein. They were also acting within the scope of such

relationship, such that each should be held liable for the acts of the other. In addition. they are

each in some manner responsible for the damages suffered by Plaintiff and the relief sought here

as alleged below.

                                          COMMON ALLEGATIONS

           25.         This lawsuit is about the unauthorized and wrongful taking from Plaintiff of




83761-00001/3 I I I 068.7
                 Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 9 of 27



nearly $24 million in cryptocurrency. Pinsky and his co-conspirators. including Truglia and the

Doe Defendants, were at the center of the conspiracy to gain unlawful access to Plaintitf-s

accounts and infbrmation via bribery and/or impersonation. and to steal and to launder his

cryptocurrency.

                                         SIM SWAPS AKA SIM-JACKING

           26.             The theft here was made possible by the increasingly prevalent practice   of
unauthorized SIM swaps. This is an illegal maneuver by which a hacker takes over a victim's

cellular phone account to intercept messages to facilitate the thefi of funds (often

cryptocurrency) and transfer such funds to the hacker or the hacker's accomplices or to

cryptocurrency accounts under the hackers' control. Increasingly publicized. SIM swaps have

become a focus of federal and state law enfbrcement authorities.

           27.             A "SIM" or "Subscriber Identity Module" (also known    as a   "SIM card") is a

small card inserted into a mobile device enabling the device to communicate with the service

provider. A SIM contains data necessary to make a successful connection between the mobile

phone and the telecommunication provider. SIM cards store files that are used to uniquely

identify them.

           28.             A "SIM swap" is a practice whereby   a hacker gains access   to a victim's telephone

account or number in order to intercept communications. including text messages, to the mobile

telephone. The process is also referred to as "SIM-jacking." A perpetrator of a SIM-jack

typically arranges through bribery of someone (often a carrier employee) with access to customer

information at the carrier to change the SIM card assigned to a user to a telephone under the

control of the hacker or the hacker's accomplices. Once the SIM transfer has occurred. the

hacker uses the hacker's phone to impersonate the victim with service providers, such as e-mail




                                                           9
83764-0000.1/3   I   8I 06U 7
                  Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 10 of 27



 providers, and uses the victim's phone number to request changes to account settings and to reset

 passwords to take control of the victim's accounts.

           29.            Perpetrators of SIM swap fraud. such as Pinsky. Truglia. and the Doe Def-endants

 (the "Pinsky Gang"). frequently intercept "2-Factor Authentication" (or "2FA") messages sent to

 the victim's telephone. 2FA is frequently used as a security mechanism for authentication

purposes. Perpetrators of SIM swaps, including Pinsky, Truglia, and the Doe Def-endants.

intercept the messages to gain access to the accounts owned by the victim, including

cryptocumency accounts or other accounts providing access to such accounts. Once the

perpetrator gains access to the account, the perpetrator transfers the funds in such accounts to an

account controlled by the perpetrator or confederates.

          30.             The perpetrators of SIM swap fiaud    -   SIM-jackers   -   specifically target victims

owning cryptocurrency because of the nature of cryptocurrency transactions. The digital assets

embodied by cryptoculrency (such as Bitcoin or Ethereum) are a medium of exchange using

cryptography to secure the transaction. Typically. the holder of cryptocurrency has both a

"public" and          a   "private" key or address that the holder uses to receive. transfer, or use

cryptocurrency. The private key. which is individual to the owner of the cryptocurrency. is used

to write in the public ledger to transfer cryptocurrency. Because the key can be used to "spend"

cryptocurrency, owners typically kccp such keys secure. Such keys are complex. For example.

in the case of Bitcoin, a 256-btt private key may contain 64 characters consisting of numbers and

capitalized and uncapi tal i zed I etters.

          3   1   .       Once a transfer of cryptocumency has occurred,    it cannot be reversed. Although

the transaction is displayed in a public ledger, it is not readily possible to identify the transferor

or transferee without knowing the parties' private keys. Cryptocurrency thus makes an attractive




                                                           10
83761-00001/3I81068       7
              Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 11 of 27



target for peqpetrators of SIM swap fiaud, such as the Pinsky Gang. because the perpetrators can

transfer stolen digital assets to accounts that are not readily traced or reversed and can be

accessed anywhere in the           world free from government regulation or inspection.

                                      THE JANUARY 7,,2018 SIM-JACK

            32.         Pinsky and Truglia, with the active assistance of the Doe Defendants. orchestrated

the SIM swap of Plaintiff s cell phone and the hack, theft. and laundering of Plaintiff        s


cryptocurrency. Some time ago. a group of young video game players-with participants in the

United States and Great Britain-formed a user group called "Original Gangsters" or

"OGUsers." In time, this moniker proved apt as they morphed into the nucleus of a sophisticated

criminal enterprise operating in North America, E,urope, and Asia. Their racket was theft of

cryptocurrency by means of SIM swaps. Each of the dozen or more gangsters in the Pinsky

Gang had assigned roles, including identifying the victims, obtaining their cell phone and

passcode numbers, forging identity cards, conning or bribing the mobile phone carrier employee

into giving the imposter a new SIM card, handing off the personal identity information to Pinsky

who with the assistance of his cohorts executed the hack and laundered the cryptocurrency

holdings into Bitcoins or fiat money.

           33.         On January 7.2018, the Pinsky Gang struck hard and quickly at the

cryptocurrency owned by Plaintiff. With uncanny efficicncy. tl-rey obtained Plair-rtiff s SIM card

and took over         Plaintiff s cell phone with his AT&T wireless number. Plaintifls phone went

dead. The SlM-jackers for all intents and purposes had hijacked Plaintiff s digital identity. They

then intercepted 2FA messages, gained control over Plaintiff s accounts. and stole nearly $24

million worth of cryptocurrency in the form of Triggers, Skycoin, and Steem from him on

January 7 and 8,2018.




                                                        il
8376.1-00004/3 l 8l 068.7
              Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 12 of 27



             34.           ln November 2018, Truglia was arrested fbr the theft of $1 million of

cryptocurrency holdings owned by someone other than Plaintiff. On December 18. 2018, the

Santa Clara County Superior Court held a bail hearing fbr                               Truglia. In this hearing, the Court

cited evidence that on January 7 ,2018, which the Courl states was the same date that Terpin lost

more than $20.000,000 through a SIM swap, Truglia told someone named Ryan O'Keefe that he

had stolen a cryptocurrency wallet with 20                         million in    it. On the same date. Truglia              texted a

friend: "l'm           a   millionaire. I'm not kidding. I have 100 Bitcoin."

             35.           On January 7.2018, the average price of one Bitcoin varied between $16,033 and

$17,244. Seeitllj)\              lttr li ,';'",i,'1,',r,;r;t1t"i\ri,i/'   ,,,'r,),'r,r,)/,'t( r1r1/,.; \,\-.ir:.11r,;   :,, --,; '.,it.ii'.

.r)ntt't)l   . On the date of the Terpin SIM swap. Truglia                         boasted that "today my lifb changed

forever." and he offered to hire "porn star escorts" and take his friends to the Super Bowl.

                                  LAUNDERING PLAINTIFF'S STOLEN COINS

             36.           Like drug cartel money. stolen cryptocurrency holdings are dirty, give rise to

suspicion, and may be very difficult to spend if they are not either washed or converted to other

forms of readily-spendable cuffency. The Pinsky Gang attempted to launder their victims'

cryptocurrency holdings in several steps. First, they moved the various coins out of the rightful

owner's account to new addresses/accounts that they controlled. Often, these stolen coins are

stored on one of tl-re crypto-exchanges like Binance, Gernini, or                                C2CX. Next, the gang

converted a less common type of stolen coin into a more recognized, easily-tradeable crypto like

Bitcoin. Then. the gang withdrew the coins. Due to daily withdrawal limits and "Know Your

Customer" (KYC) requirements, however, each individual must present a passport to prove that

he is the account owner. so they often used stolen or forged passports.

             37.           The Pinsky Gang stole three types of coins fiom Plaintiff s wallet: 3.000,000




                                                                          12
83764-00004/3   r8 r   068.7
              Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 13 of 27



Triggers; 12,500 Steem, and 20,000 Skycoin, all of which he and his cohorts moved in different

ways.

           38.         Pinsky and his co-conspirators moved the Triggers to at least five accounts that

they controlled at Binance. and they then converted the cryptocurrency in those accounts to

Bitcoin before transferring the proceeds off the exchange to privately held wallets.

           39.         On information and belief, Defendants attempted to launder. and in lact

laundered, the Steem coins as well.

            40.        Laundering the Skycoin proved more difficult. At the C2CX exchange.

Defendants opened an account in the name of a Florida State student. which was apparently a

stolen identity. Defendants proceeded to convert the Skycoin into Bitcoin at a substantially

below market valuation. but were ultimately unable to move the proceeds off the exchange.

                              PINSKY AND TRUGLIA ADMIT THEIR CRIMES

            41.        The evidence of Pinsky's and Truglia's culpability fbr organizing and directing

scores of SIM swaps and thefts. collectively totaling well over $100          million of cryptocurrency

holdings, including Plaintiff s nearly $24 million, is overwhelming and irrefutable.

           42.         Truglia has been identified in a California criminal case as the perpetrator of

numerous SIM swap frauds. In a December 201 8 hearing in Truglia's case. the prosecution cited

an investigatory repoft revealing that Truglia had used telephone accounts obtained through SIM

swap to register new cryptocuffency accounts, including accounts on Coinbase, Gemini, and

Binance. Truglia also engaged in money laundering effbrts after his SIM swaps by moving his

stolen cryptocurrency through multiple addresses. breaking up the stolen amounts into multiple

segments of smaller amounts, structuring his transactions to avoid reporting requirements, and

otherwise taking steps to avoid due diligence and suspicion. Truglia has boasted about his




                                                        13
8U76.t-00004/3 l Il 068 7
            Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 14 of 27



 cybercrimes to many friends.

           43.        Likewise, Pinsky has been identified as Truglia's parlner in multiple SIM swap

 frauds. In   201 8, after the    Terpin hack but prior to his arrest. Truglia implicated Pinsky in several

 conversations recorded by a friend. In a declaration under penalty of perjury, Chris David

 quoted the following admissions by Truglia in a September 2018 conversation:

                      (a)    How Pinsky and he hacked Terpin to steal his $24 million worth of

                             Cryptocurrency holdings      ;


                      (b)    How Pinsky and he laundered cryptocurrency holdings out of the

                             blockchain into cash:

                      (c)    Truglia has an account at the Gemini exchange and took out $1,200.000;

                      (d)    Truglia committed tax fraud:

                      (e)    Truglia saw records indicating that in December 2017, Pinsky had $70

                             million; and

                      (0     One of their victims, Plaintiffl is too "dumb" to be able to figure out what

                             happened and trace the laundered cryptocurrency holdings.

          44.         In another conversation on September 9. 2018. Truglia related the following to a

mutual friend:

                      (a)    He   will   never be caught hacking/stealing because he is so good at   it-
                             literally, "how are they going to prove that my story [his deflense]

                             wrong?";

                      (b)    "Nobody can get me in trouble. Nobody can put me in jail. I would bet

                             my life on it. actually"; and

                      (c)    As of September 2018. Truglia had $60 million of Bitcoin.




                                                         t4
83764-00001/3I8I068   7
             Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 15 of 27



           45.              In still another 2018 conversation. Truglia admitted:

                            (a)    He told the police that he had $60   million when they came to his

                                   apartment;

                            (b)    He had stolen all his money and had not legitimately accumulated his

                                   wealth;

                            (c)    He was a computer hacker and stole his victims' cryptocurrency holdings

                                   and that this was   thrilling for him-"the thrill of the game"-which     he

                                   would never stop doing-even if there were no money involved; it was all

                                   "a mind game";

                            (d)    His partner was named Ellis Pinsky, and Pinsky had stolen between $70

                                   and $80 million through hacking;

                            (e)    He. Truglia. is a "Robin Hood" who robs fiom the rich but does not give

                                   to the poor:

                            (0     Pinsky and he do hacking and SIM swapping by Truglia locating the

                                   victims through social engineering and Pinsky intercepting 2FA messages

                                   to find out information about accounts:

                            (g)    Truglia's "biggest" SIM swap was Plaintiff Michael Terpin for $24

                                   million, and Pinsky was his partner; and

                            (h)    Pinsky took proceeds from the $24 million.

           46.              In mid-August of last year. Truglia further admitted his guilt fbr purloining

Plaintiff s $24 million of coins. Remarkably. on his public Twitter account (@erupts)                 at

Twitter.com. Truglia admitted six times that he "Stole 24 million." refeming to Plaintilf               s


cryptocumency holdings.




                                                              15
tt3761-00004/i   r   8 r 06rJ 7
             Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 16 of 27



           47    ,         Pinsky himself also has admittsd that he is a cybercriminal. He has told friends

that, since he was 13, he has stolen over $100 million worth of cryptocurrency through scores of

hacks, and boasted of hundreds of thousands of cash stored in his bedroom in his mother's home.

Indeed, when Pinsky repaid in 2019 a portion of the sum that had been stolen from Plaintiff,               it

included a cash payment consistent with Pinsky's boast.

          48.              Pinsky fancies himself as some kind of Super Boy who is beyond the reach of the

law and impervious to Plaintiff s efforts to hold him liable for the $24 million heist. This brash

egoist has texted:

                           "You think I'm fucking dumb . . . I'm not fucking stupid . . . I threw out

                           all my shit [computers] . . . Fuck that attorney [Terpin's lawyer]. They

                           don't have shit on me. . .You think I'm dumb enough to keep all my

                           money in America . . . fTruglia] is a dumb ass . . . and got caught."

           49.              In the same text session where he is declaring himself invincible, Pinsky

demonstrated the wisdom of the adage that "pride comes before a fall." A wannabe Master                  of

the Universe. Pinsky wrote to an African-American:               "l'm well off I'm good I don't need extra

money     l'm        set   for life . . . You're adumb nigger l could buy you and all your family . . . I have

100   million dollars."

          50.              More recently, after being conlionted by Plaintiff about his involvement. Pinsky

(with the advice of sophisticated legal counsel) sent cryptocurrency, cash. and             a watch to

Plaintiff without any conditions. As Pinsky and Plaintiff have no other connection to one

another other than as stated herein. there was no other reason to repatriate these items-worth

roughly $2 million at the time-other than to make a partial repayment of what he had stolen

from Terpin. Pinsky has thereby furlher admitted his complicity.




                                                            16
ti3764-00004/3   I8 I   068.7
            Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 17 of 27



                                            TERPIN'S DAMAGES

          51   .      Terpin's cryptocuffency holdings that are the subject of this proceeding are

valued in the sum of at least $23,808.125 consistent with applicable damages law.

          52.         Plaintiff is entitled at a minimum to interest on the losses, if not greater losses as a

result of his inability to use his cryptocurrency holdings to invest the proceeds.

          53.         In seeking to recover his money. Plaintiff will have incurred substantial attorney's

fees. costs, and expenses in a sum to be proven at trial, and in any event no less than $1.000.000.

          54.         Plaintiff is entitled to recover fiom Defendants at least $23,808,125 (before

trebling or punitive damages). subject to credits given consistent with applicable law for any

amounts recovered by Plaintiff, plus interest and attorneys' t-ees consistent with applicable law.

                                      NECESSITY OF INJUNCTIVE RELIEF

          55.         As noted above, Pinsky has admitted that he has $100 million of stolen money,

presumably in a mix of cash and cryptocurrency. He also reportedly had substantial cash stashed

in his bedroom. which was reconfirmed by his inclusion of at least some portion of that cash with

the partial sum that he repaid in 2019.

          56.         Defendants have proven to be skillful prof-essionals at using the internet for

stealing and laundering coins and money. They are as dangerous with a computer as armed bank

robbers are with guns.

         57.          Due to the nature of cryptocunency and Defendants' mastery of cybercrime.

Pinsky's assets, including the amounts taken fiom Plaintifl, could readily be dissipated and lost

absent injunctive and other relief preventing any transfer.




                                                        17
83764-00004/3l8I068   7
             Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 18 of 27



                                             FIRST CLAIM FOR RELIEF

             (Against AII Defendants for Violations of Section 1962(c) of the Racketeer

                 Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. $ 1962(c))

          58.              Plaintiff realleges and incorporates by reference the allegations of Paragraphs       1




through 57 above as if fully set forth herein.

           59.             This claim forrelief arises under 18 U.S.C. $ 1962(c) and is asserted against

Defendants Pinsky and DOES I -20.

          60.              Each of the Defendants. fbr purposes of this particular cause of action, is or has

been a "person" employed by or associated with an enterprise engaged in. or the activities                  of

which affect, foreign or interstate commerce (the ''Enterprise"), and as such, has conducted or

participated, directly or indirectly. in the conduct of such Enterprise's affairs through a pattern                  of

racketeering activity as described below.

           61.             For the purpose of this particular cause of action under Section 1 962(c). the

Enterprise consists of Def'endants Pinsky. non-Def-endant Truglia, and DOES 1-20.

          62.              Since at least 2017 . Defendants Pinsky, non-defendant Truglia. and DOES 1-20

and other Enterprise members. knowingly. intentionally. and unlawfully, aided and abetted, and

conspired with each other. to devise. or intend, the scheme to defraud cryptocurrency investors

and others (including Plaintiff), by which they were to illegally steal their victims' identities and

to illegally obtain and acquire control of victims' cryptocurrency and other accounts, and to

illegally keep those assets for their own benef-it and interest.

           63.             In furtherance of its scheme to defraud. and in order to achieve its objectives. the

Enterprise knowingly, intentionally, and unlawfully aided and abetted to commit, attempted to

commit, conspired to commit, did commit. and caused to be committed, the below enumerated




                                                             18
8376.+-00004/3   I   8 I 068.7
            Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 19 of 27



overt and/or predicate acts of racketeering activity to illegally steal money from victims,

including Plaintiff, through SIM swaps and other subterfuges and to subsequently retain such

money.

          64.            From at least 201 7 to the present. fbr the purpose of executing the Enterprise's

scheme to defraud. Defendants Pinsky, non-Defendant Truglia, and DOES 1-20 unlawfully

obtained inlormation about victims' mobile phone accounts, including infbrmation about

security codes and other personal information. The Enterprise then used such information. in

combination with false identifications and information obtained through phishing or the Dark

Web. to port over a victim's telephone number to a phone under its control. The Enterprise then

used their phones to intercept messages to the victim, including 2FA messages. and accessed the

victim's accounts to obtain information about cryptocurrency holdings, including private keys.

Through this scheme, the Enterprise gained control of victims' online accounts, including

cryptocumency wallets or other accounts, and exfiltrated victims' cryptocurrency to accounts

under their own control. The scheme perpetrated on Terpin by Def-endants Pinsky. non-def-endant

Truglia, and DOES 1 -20, as alleged in this complaint, is typical of the Enterprise' s modus

operandi.

          65.           The scheme perpetrated by Defendants Pinsky. non-defendant Truglia, and DOES

1-20 took place in interstate commerce within the United States. Through the conduct described

above, in furtherance of the scheme to defraud Terpin and other victims. the members of the

Enterprise knowingly, intentionally, and unlawfully, aided and abetted and conspired with each

other to violate, and did violate 18 U.S.C.          {   1343 (wire fraud); 18 U.S.C. $ 1030(a)(a)

(Computer Fraud and Abuse Act); New York Penal Law Q8 156.05 (unauthorized use of a

computer), 156.l0 (con,puter trespass), 156.27 (computer tampering in the first degree). 156.30




                                                            l9
83764-00004/3   l 8 l 068.7
                 Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 20 of 27



 (unlawful duplication of computer related material in the first degree), and 156.35 (criminal

possession of computer related material). and other provisions of the New York Penal Law,.

including New York Penal Law $165.54 (criminal possession of stolen property in the                 f-rrst


degree).

           66.              Through the conduct described above, Defendants Pinsky, non-def'endant Truglia,

and DOES 1-20 and other Enterprise members, knowingly. intentionally and unlawfully, aided

and abetted, conspired to. and each of them in fact did. conduct or participate. directly or

indirectly. in the conduct of the Enterprise's affairs, through a pattern of unlawful access to

computers in violation of 18 lJ.S.C. $ 1343 (wire fiaud); 18 U.S.C. g 1030(a)(4), (Computer

Fraud and Abuse Act); New York Penal Law $$ 156.05 (unauthorized use of a computer).

156.10 (computer trespass). 156.27 (computer tampering in the first degree). 156.30 (unlawful

duplication of computer related material in the first degree). and 156.35 (criminal possession of

computer related material). and other provisions of the New York Penal Law, including New

York Penal Law $ 165.54 (criminal possession of stolen property in the first degree).

           67.             As a proximate cause of the Defendants' violations. Plaintiff was injured in his

property inasmuch he has been the object of theft of his proper-ty in violation of law.

           68.             The injuries suffered by Plaintiff Michael Terpin are reasonably estimated to be in

the amount of at least $23.808,125, with interest accruing from the date each component of saici

sum was converted by Defendant, subject to credits given consistent with applicable law for any

amounts recovered bv Plaintiff.

           69.             Ou.rrun, to 18 U.S.C. $ 1964(c). Plaintiff shall recover threefold the damages

sustained in an amount of at least $71 ,415.375 (l.e., $23.808,125x3), with interest accruing

consistent with applicable law, subject to credits given consistent with applicable law for any




                                                           20
8376.+-00001/3   r8 r   068.7
              Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 21 of 27



amounts recovered by Plaintiff. In 2019, a Los Angeles County Superior Court Judge assessed

such treble damages against Truglia for his participation in the theft of                    Plaintiff s cryptocurrency

in a $75.8 million judgment.

             70.             Pursuant    to   18 U.S.C. $ 196a(c).    Plaintiff Michael Terpin is entitled to reasonable

attorneys' fees. expenses. and costs in a sum to be proven at trial. and in any event no less than

$   1   ,000,000.

                                                     SECOND CLAIM FOR RELIEF

               (Against All Defendants for Conversion and Conspiracy to Commit Conversion)

             71.             Plaintiff realleges and incorporates by ref-erence the allegations contained in

Paragraphs 1 through 70 above as if                    fully   set forth herein.

             72.             At all times mentioned above. Plaintiff was, and still is, the owner and was.        and

still is, entitled to the possession of cryptocurrency valued in the sum of at least $23.808.125

consistent with applicable damages law.

             73.                 On or about January 7 ,2018. Def'endants Pinsky, non-defendant Truglia and

DOES 1-20 took and conspired to take the property described above from Plaintiff                          s possession


in the manner described above and convefted the same to their own use.

             74.             As a proximate result of the wrongful conduct of Defendants Pinsky. non-

defendant Truglia, and DOES 1-20 as alleged above. Terpin has been damaged in the sum to be

proven at trial, but at least $23,808,125. with interest accruing from the date each component of

said sum was converted by Defendant. subject to credits given consistent with applicable law fbr

any amounts recovered by Plaintiff

             75.             As a further proximate result of the Defbndants' acts alleged above, Terpin has

also expended substantial sums of time and money in pursuit of the sums converted by




                                                                     21
83761-00004/3   r   ti l   06u   7
                Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 22 of 27



 Defendants. Terpin is presently incuning such amounts in an attempt to recover his converled

 property. The full amount and extent of those damages are presently unknown. Plaintiff will

 seek leave to amend this complaint when the             full extent and amount of said damages have       been

ascertained.

             76.          Defendants Pinsky and DOES 1-20 have engaged in despicable conduct as

alleged above with an intent to injure Terpin and to subject him to cruel and unjust hardship in

conscious disregard of his rights, and these actions were done fiaudulently, maliciously and

oppressively. Terpin is therefore entitled to punitive or exemplary damages against Defendants

in an amount sufficient to punish and make a public example of each of the Defendants.

                                                THIRD CLAIM FOR RELIEF

                              (Against All Defendants for Money Had and Received)

             77.         Plaintiff realleges and incorporates by reference the allegations of Paragraphs     1




through 76 above as if fully set forth herein.

             78.         Pinsky and DOES 1-20 received money belonging to Terpin in the amount of a

sum to be proven at trial. but at least $23.808,125 at that           time.   Def-endants Pinsky and DOES 1-

20 benefitted from the receipt of that money. Under principles of equity and good conscience,

Defendants should under no circumstances whatsoever be permitted to keep that money.

            79.          The whole of this sum has not been paid back to Plaintifl-, and there is now due,

owing, and unpaid             -   as money had and received   - the sum to be proven at trial, which is at least
$23.808,125, with interest accruing from the date each component of said sum was converted by

Defendant, subject to credits given consistent with applicable law for any amounts recovered by

Plaintiff.




                                                          22
83 764-0000,1/3 I 8 I 068.7
             Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 23 of 27



                                               FOURTH CLAIM FOR RELIEF

                                             (Against All Defendants for Replevin)

          80.              Plaintiff realleges and incorporates by reference the allegations of Paragraphs   1




through 79. above. as if fully set forth herein.

          81.              Plaintiff is. and at all times material herein was, the owner of personal property

described as the cryptocurrency holdings identified above.

          82.              Plaintiff is. and at all times material herein was. entitled to immediate and

exclusive possession of his cryptocurrency holdings.

          83.              During and as a direct and proximate result of Defendants' wrongful possession

and retention of his cryptocurrency holdings, Plaintiffhas suffered the loss of the use and

enjoyment of them as well as additional damages in an amount to be proven at trial but in no

event less than $23.808,125, with interest accruing from the date each component of said sum

was converted by Defendant, subject to credits given consistent with applicable law for any

amounts recovered by Plaintiff.

          84.              Plaintiff is entitled to immediate return and possession of his cryptocurrency

holdings.

          85.              In doing the acts alleged above, Defendants acted with oppression. fraud. and

malice and with the intent to defraud Plaintiff-. Accordingly, Plaintilf is entitled to an award             of

punitive and exemplary damages against Def-endants in a sum to be proven at time of trial.

                                             FIFTH CLAIM FOR RELIEF

                 (Against All Defendants for Violation of the Computer Fraud and Abuse

                                              Act, 18 IJ.S.C. $ 1030(a)(a))

          86.              Plaintiff realleges and incorporates by reference the allegations of Paragraphs   1




                                                            :J
8376.r-00004/3   I8 l   068.7
             Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 24 of 27



through 85 above as if fully set forth herein.

           87.              By committing and aiding and abetting the SIM swap described above,

Defendants knowingly and intentionally accessed through interstate commerce Plaintifls mobile

telephone and accounts accessible through his mobile device, all of which are protected

computers, without authorization and in violation of Plaintifls rights in his property and privacy.

           88.              Defendants' activities described above constitute a violation of the Computer

Fraud and Abuse Act ("CFAA"), 18 U.S.C. $ 1030(a)(a). Plaintitf may maintain a civil action

against Defendants for violations of the CFAA pursuant to 18 U.S.C. $ 1030(9).

           89.              As a result of the unauthorized activities. Defendants caused a loss to Plaintiff of

at least $23,808.125 in cryptocurrency, with interest accruing fiom the date each component                    of

said sum was converted by Defendant. subject to credits given consistent with applicable law for

any amounts recovered by Plaintiff.

           90.              Plaintiff has additionally suffered loss by reason of these violations. including.

without limitation, violation of the right of privacy and identity thefi.

           9\.              The unlawful access to Plaintiff s mobile computer and online accounts has also

caused Plaintiff irreparable             injury. Unless restrained and enjoined. Defendants will continue to

commit such acts. Plaintiff s remedy at law is not adequate to compensate him for these inflicted

and threatened injuries. entitling PlaintifTto remedies, including injunctive relief as provided by

a 1030(g).

                                                  SIXTH CLAIM FOR RELIEF

                            (Against All Defendants for a Preliminary and Permanent Injunction)

           92.              Plaintiff realleges and incorporates by ref-erence the allegations of Paragraphs     1




through 91 as if fully set forth herein.




                                                              24
8376.1-0000.1/3   I8 l   068 7
           Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 25 of 27



           93.        Defendants' possession and control of Plaintiff s cryptocurrency holdings and

money, and the substantial threat of loss through transfers to unknown accounts or persons. is

causing and will continue to cause PlaintifTgreat and irreparable harm. fbr which Plaintiff has no

adequate remedy at law.

           94.        Plaintiff is therefore entitled to a preliminary and permanent order enjoining and

restraining Def'endants Pinsky and DOES 1-20. and their agents" servants. employees.

confederates. co-conspirators. aiders and abettors, and representatives from engaging in,

committing, or performing, directly or indirectly. any and all of the following acts: accessing.

expending, disbursing, transferring, assigning. pledging, encumbering, concealing, laundering.

washing. or in any manner whatsoever disposing of the whole or any part of the cryptocurrency

holdings and cash belonging to Plaintiff.

                                        DEMAND FOR JUDGMENT

         WHEREFORE. Plaintiff prays for judgment against Defendants, and each of them,                 as


follows:

              1   .   For the value of the property converted in the sum to be proven at trial. but at least

$23,808,125, subject to credits given consistent with applicable law fbr any amounts recovered

by Plaintiff;

              2.      For interest thereon at the legal rate frorn the date of the conversion oleach

component of the foregoing sum;

              3.      For additional damages for time and money properly expended in pursuit of the

convefted property, according to proof;

              4.      For an order requiring Defendants Pinsky and DOES l-20. jointly and severally,

to return to Plaintiff all assets, funds, and other property derived fiom such transactions. as well




                                                        25
83764-00001/3r8r068   7
               Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 26 of 27



as any benefits or             profits derived therefiom, and to pay Plaintiff any consequential damages

caused by these transactions;

                   5.    For an order compelling Defendants Pinsky and DOES 1-20 to reconvey legal

title of Plaintiff            s cryptocurrency holdings   to Plaintiff;

                   6.    For an order requiring Defendants Pinsky and DOES 1-20, and their agents.

servants, employees, confederates. co-conspirators, aiders and abettors, and representatives to be

enjoined during the pendency of this action. and then permanently enjoined after conclusion of

this action, from engaging in, committing, or perfbrming, directly or indirectly, any and all of the

following acts: accessing. expending, disbursing. transf-erring, assigning, pledging,

encumbering. concealing" or in any manner whatsoever disposing of the whole or any part of the

cryptocurrency holdings and cash belonging to Plaintiff;

                   7.    For punitive or exemplary damages in an amount sufficient to punish Defendants

Pinsky and DOES 1-20 and make a public example of them;

                   8.    For treble damages pursuant to l8 U.S.C $ 196a(c);

                  9.     For attorney's fees pursuant to 18 U.S.C. S 1964(c);

                   10. For costs of suit incurred herein: and

                   1   1. For such other and further relief     as   this Courl may deem just and proper.




                                                               26
83 76.+-00001/3 I 8 I 068.7
           Case 7:20-cv-03557-CS Document 1 Filed 05/07/20 Page 27 of 27




                                   DEMAND FOR JURY TRIAL

                 Plaintiff demands trial by jury on all claims fbr relief for which a jury trial is

appropriate.


DATED: May 7,2020                                      CHEHEBAR DEVENEY & PHILLIPS

                                                       and

                                                       GREENBERG GLUSKER FIELDS CLAMAN &
                                                       MACHTINGER LLP



                                                       ,, {H,/U* k,r,,r)
                                                             CORNELTUS P.      Mcc{RTHY ICM-3544)


                                                       By:
                                                              /*7'At/ (/,.r,,97^
                                                             PIERCE O',DONNELL ( PO-57 24)

                                                             Attorneys for Plaintiff
                                                             MICHAEL TERPIN




                                                        27
83764-00001/3   I 8 r 068.7
